      CASE 0:17-md-02795-MJD-KMM Document 418 Filed 07/22/19 Page 1 of 2



July 22, 2019

Via ECF

The Honorable Michael J. Davis
United States District Court
13E U.S. Courthouse
300 South Fourth Street
Minneapolis, MN 55415

RE:     In Re: CenturyLink Sales Practices and Securities Litigation
        MDL No. 2795

Dear Judge Davis:

Pursuant to the Court’s Order (ECF 407), the Consumer Plaintiffs and Defendant CenturyLink, Inc. and
the proposed Intervenors (jointly “CenturyLink”) respectfully submit this update regarding the pending
settlement of the consolidated consumer actions in MDL No. 2795, In re CenturyLink Sales Practices and
Securities Litigation.

Since the June 7, 2019 hearing, counsel for CenturyLink have undertaken the drafting of an extensive
proposed Settlement Agreement and supporting papers. The first draft is almost complete and counsel for
CenturyLink will share those papers with counsel for Consumer Plaintiffs in the next few days.

Simultaneously, counsel for Consumer Plaintiffs have undertaken a review of the record and proceedings
of this and other actions to develop a confirmatory discovery process. Plaintiffs served their first sets of
confirmatory discovery requests on July 18, 2019 and anticipate serving a second set in the coming days.
The parties have also established a bid process for the selection of a qualified claims administrator. The
parties have received an opening round of bids and will select a claims administrator in the near future to
assist with the development of a notice plan and other efforts.

Regarding a timeline for the presentment of a motion for preliminary approval, the parties believe they
are currently on track to meet the timeframe stated to the Court at the June 7 hearing, namely, mid-August
to early September.

The parties will be prepared to submit another update pursuant to the Court’s Order (ECF 407) but remain
available at any time should the Court have questions or desire further information.

Respectfully submitted,

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    CASE 0:17-md-02795-MJD-KMM Document 418 Filed 07/22/19 Page 2 of 2



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